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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
GERALD GE()RGE, et al., )
Plaintiffs, §
v. § No. 08 C 3799
KRAFT FOOI)S GLOBAL, INC., et al., § Judge Ruben Castillo
Defendants. §

MEMORANDUM ()PINION AND ORDER
Gerald George, Cathy Dunn, and Timothy Streff bring this class action on behalf of
themselves and all other Sirnilarly Sitnated persons (collectively, “Plaintiffs”),l against Kraft
Foods Global, Inc. (“Kraft Global”), Kraft Foods, Inc. (“Kraft”), Kraft Foods Global, Inc.
Management Committee of Elnployee Beneflts (“K_raft En'iployee Benefits Corninittee”), Kraft

Foods Global, Inc. Administrative Committee (“Kraft Administrative Comrnittee”), the

Compensation and Governance Committee of the Kraft Foods, Inc. Board of Directors (“Kraft
Cornpensation Committee”), Kraft Foods Global, Inc. Beneflts Investment Committee (“Kraft
Benefits Investment Coniniittee”), and the Kraft Benefits Investment Group (collectively, “Kraft
Defendants”). (R. 107, Second Arn. Compl.) Additionally, Plaintiffs name Altria Corporate
Servioes, Inc. (“Altria Services”), the Corporate Employee Plans Investment Comrnittee of the
Board of Directors of Altria Group, Inc. (“Altria Investrnent Cornmittee”), and the Benefits

lnvestment Group of Alt;ria Corporate Services, Inc. (“Altria Benefrts Investment Group”)

 

1 Andrew Swanson Was formerly a named plaintiff in this action. (R. 107, Second Arn.
Compl.) On May 19, 2010, Plaintiffs filed a motion to withdraw Swanson as a named plaintiff
(R. 161, Pls.’ Mot. to Withdraw.) The Court granted their motion on June l, 2010. (R. 163,
Min. Entry.) `

 

 

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(collectively, “Altria Defendants”), as defendants (Ia’_) Plaintiffs allege that the K_raft and Alt;ria
Defendants (colleetively, “Defendants”) breached fiduciary duties established by the Employee
Retirement lncome Security Act of 1974 (“ERISA”), 29 U.S.C. § 1001 et seq., and seek
declaratory, monetaiy, and equitable relief (Id.) Presently before the Court is Plaintiffs’ cross-
motion for partial summary judgment pursuant to Federal Rule of Civil Procedure 56. (R. 189,
Pls.’ l\/lot.) For the reasons stated below, the motion is denied.
RELEVANT FACTS2

The Court’s opinion resolving Defendant’s cross-motion for summary judgment
thoroughly describes many of the important undisputed facts in this case. (See R. 255, Mem.
Op.) The Court therefore need not provide a detailed account of the underlying facts to decide
Plaintiffs’ cross-motion for partial summary judgment A brief summary of the maj or undisputed
facts will suffice.

Plaintiffs are current or former participants in the Kraft Foods Global, Inc. Thrift Plan
{the “Plan”), a defined contribution plan governed by ERISA, (R. 211, Defs" Resp_ to Pls.’
Facts 11 2.) The Plan designates the Investment Committee as having, among other powers, the
power and authority to select, appoint, and remove managers, establish investment guidelines,
and monitor the performance of each investment option in the Plan. (Id. 1 3.) The Investment

Committee is a named fiduciary With respect to investment matters for certain defined benefit

 

2 The relevant facts have been culled from Plaintiffs’ Local Rule 56.1 Statement of
Material Facts (“Pls.’ Facts”), Defendants’ Local Rule 56.1 Response (“Defs.’ Resp. to Pls.’
Facts”) and Statement of Additional Facts (“Defs.’ Facts”), and Plaintiffs’ Response to
Defendants’ Statement of Additional Facts (“Pls.’ Resp. to Defs.’ Facts”). The Court also relied
upon exhibits contained in Plaintiffs’ Appendix (“Pls.’ App.”) and Defendants’ Appendix
(“Defs.’ App.”). Unless otherwise indicated, the following facts are undisputed

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plans sponsored by Kraft Global (“Defined Benefit Plans”). (Id. ‘§§ 4.) Before 0ctober 25, 2001,
the Altria Investment Committee served as the Investment Committee. (Ia.'. §§ 5.) From October
25, 2001 to January 27, 2004, the Kraf`t Compensation Committee served as the Investment
Committee (Icl. 1§ 6.) This role has been fulfilled by the Kraft Benefits Investment Committee
since lanuary 24, 2004. (Id. §§ 7.)

On September 28, 1994, the Altria Investment Committee considered and approved the
inclusion of new funds in the Plan. The objective for one-the Growth Equity Fund~was to offer
a mid-to-sniall market capitalization (“mid-cap” and “Small-cap”) equity investment that
included U.S. stocks outside the S&P 500 index. (Id. §§ 20.) The objective for the other-the
Balanced Fund-Was to offer a single decision choice to participants desiring professional
diversificationl (ld.) The Altria Investment Committee offered the Heritage Fund as the
investment option fund for the Growth Equity Fund, and the Bankers Trust lnstitutional Asset
Managernent mutual fund as the underlying investment for the Balanced Fund. (Id. 1§§§ 22, 24.)

On May 25, 1999, the Altria Investment Committee reviewed the advantages and
disadvantages of using index management within the equity segments of the Defined Benefit
Plans. (Id. §§ 46.) Discussions Within this review noted the challenges of selecting consistently
successful active managers, the low costs of indexing, the performance of indexing in down
markets, and the composition of the popular S&P 500 index. (ld.) The Altria Investment
Committee subsequently decided that the remaining actively managed portion of U.S. equities in .
the Defined Benefit Plans Would be converted to the S&P 500 index. (Ia'. §§ 48.) In doing so, it ' §

eliminated all active management in the Defined Benefit Plans. (Id. §§ 49.)

In December 2004, the Altria Benefits Investment Group requested information regarding

 

 

 

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mid-cap and small-cap passively managed investments for both the Defined Benefit Plans and
the Plan. (Id. 1§ 90.) On December 7, 2004, the Kraft Benefits Investment Committee chair, Jim
Dollive, received a recommendation from the Altria Benefits Investment Group to terminate the
fund in the Growth Equity Fund “based ‘solely’ on performance and replace it ‘with an index
fund designed to capture the mid and small cap areas of the US equity market to complement the
S&P index fund.”’ (Id. 1§ 91 .) On l\/larch l, 2005, the Altria Benefits investment Group
recommended the passively-managed State Street Global Advisor Completeness Index Fund to
replace the actively-managed Heritage Fund. (Id. `1§ 93.) In making this recommendation, the
Altria Benefits Investment Group’s search for the Growth Equity Fund’s replacement Was
conditioned on the following: (l) only passively-managed options were considered; (2) the
“lowest cost” investment vehicle would be selected; and (3) only institutional investment
vehicles were considered (Id. 1§ 94.)
PROCEI}URAL HISTORY

On July 2, 2008, Plaintif_fs initiated this class action against Defendants on behalf of all
similarly situated Plan participants (R. l, Compl.) Plaintiffs amended their original complaint
on November 20, 2008. (R. 61, Pls.’ First Am. Compl.) In February 2009, Plaintiffs moved for
leave to file their Second Amended Complaint. (R. 82, Pls.’ Mot. For Leave to File Second Am.
Compl.) After the Court granted their motion, Plaintiffs filed their Second Amended Cornplaint
(the “complaint”) on July 31, 2009. (R. 107, Second Am. Compl.)

On August 31, 2009, Defendants filed a motion to dismiss pursuant to Federal Rule of
Civil Procedure lZ(b)(G). (R. 112, Mot. to Dismiss.) ln December 2009, the Court granted

Defendants’ motion in part, and denied it in part George v. Kraj? Foods Global, Inc., 674 F.

 

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Supp. 2d 1031, 1050 (N.D. lll. 2009) (“George I]”). The Court’s December 2009
ruling-combined with a joint stipulation entered into by the parties-leaves only Count lll of the
complaint remaining for consideration.3

In Count III, Plaintiffs allege that Defendants violated the fiduciary duties set forth at 29
U.S.C. §§ 1104-05 by including the Growth Equity Fund and Balanced Fund (the “Funds”) as
Plan investment options. (See R. 107, Second Am. Compl. 1§1§ 63-82.) Tliey claim that the
selection and retention of the Funds violated the duties established by ERlSA because, at the
time the decision to invest in them was made, both Were expected to underperforrn relative to
comparable investment alternatives (Id. §§ 78.) In addition, they allege that Defendants failed to
properly monitor the Funds. (Id.) Moreover, Plaintiffs aver that Defendants actively concealed
material information regarding their imprudent decision to select and retain the Funds as Plan
investment options (Id. 1§‘1[ 78, 80.) They bring this count on behalf of the Plan pursuant to 29
U.S.C. § 1132(a)(2) (“Section 1132(a)(2)”). (Ia'. 1§ 82.)

On July 14, 2011, the Court ruled upon Defendants’ cross-motion for summary judgment
(R. 255, Mem. Op.) After considering Defendants’ arguments in favor of summary judgment,
the Court: (l) concluded that any alleged breaches of fiduciary duty which took place before July
2, 2002 are time-barred; and (2) found that Defendants are entitled to summary judgment on
Plaintiffs’ assertion that the Funds were improperly monitored (Id. at 35.)

Presently before the Court is Plaintiffs’ cross-motion for partial summary judgment (R.

189, Pls.’ Mot.) In their motion, Plaintiffs ask the Court to enter partial summary judgment on

 

3 On February 22, 2010, the parties jointly stipulated that Counts l and ll of the complaint
Would be dismissed without prejudice against the remaining Altria Defendants. (R. 144,_ Joint
Stipulation of Dismissal.)

 

 

 

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Count III of the complaint against the Kraft Compensation Committee and the Kraft Benefits
Investment Committee (“Kraft Committees”). (Id. at l.) Specifically, they maintain that the
Krali Committees, as the named fiduciaries responsible to investment operations in both the Plan
and Defined Benefit Plans, “allowed poor performing, excessively expensive, actively-managed
mutual funds (the Growth Equity and Balanced Funds) to remain in the Plan for many years,
even though the fiduciaries had determined that such investments, by their own measure and
recorded process, were imprudent and removed all actively-managed funds from the Defined
Benefit Plan[s].” (Id. at 1-2.) By doing so, Plaintiffs argue that the Kraft Committees “failed to
exercise the care, skill, prudence, and diligence required by ERISA and, as a matter of law,
breached their fiduciary duties of prudence and loyalty to the Plan participants.” (Id. at 2.)
LEGAL STANDARD

Summary judgment is appropriate when the record, viewed iri the light most favorable to
the nonmoving party, reveals that there is no genuine issue as to any material fact and the moving
party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(a). “In other words, the
record must reveal that no reasonable jury could find for the nonmoving party.” Keri' v_ Bd. of
Trs. ofPurdue Um`v., 458 F.3d 620, 627 (")'th Cir. 2006) (quoting Dempsey v. Atchison, Topeka,
& Santa Fe Ry. Co., 16 F.?)d 832, 836 (7th Cir. 1994)). Rule 56 further requires the entry of
summary judgment, after adequate time for discovery, against a party “who fails to make a
showing sufficient to establish the existence of an element essential to that party’s case, and on
which that party Will bear the burden of proof at tria .” Celotex Corp. v. Catretr, 477 U.S. 317,

322 (1936)_

A party seeking summary judgment bears the initial responsibility of informing a court of

 

 

 

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the basis for its motion and identifying those portions of the record which it believes demonstrate
the absence of a genuine issue of material fact_ Id_ at 323. The moving party may discharge its
initial responsibility by simply “‘showing’_that is, pointing out to the district court-that there is
an absence of evidence to support the nonmoving party’s case.” Id. at 325. When the
nonmoving party has the burden of proof at trial, the moving party is not required to support its
motion with affidavits or other similar materials negating the opponent’s claim. Id. at 323. )

Once a properly supported motion for summary judgment is made, the nonmoving party
cannot resist the motion and withstand summary judgment by merely resting on its pleadings
Keri`, 458 F.3d at 628. Instead, it must come forward With specific facts showing that there is a
genuine issue for trial; raising some metaphysical doubt as to the material facts is not enough.
Mafsushira Elec. Indus. Co. Ltd. v. Zerii'rh Raa"i`o Corp., 475 U.S. 574, 586-87 (1986).
Conclusory allegations, if not supported by the record, will not preclude summary judgment
Keri', 458 F.?)d at 628 (citing Hawood v. N. Am. Van Lines, Inc., 121 F.3d 1066, 1071 (T"th Cir.
1997)).

ANALYSIS

Under ER_I SA, plan fiduciaries must discharge their duties with respect to the plan solely
in the interest of the participants and for the exclusive purpose of providing benefits to
participants and defraying reasonable expenses of administering the plan. 29 U.S.C. §
1104(a)(l)(A). Fiduciaries must perform their duties with the “care, skill, prudence, and
diligence under the circumstances then prevailing that a pmdent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of like character and like

aims.” 29 U.S.C. § l 104(a)(l)(B). When enforcing these duties, a “court focuses not only on the

 

 

 

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merits of the transaction, but also the thoroughness of the investigation into the merits of the
transaction.” Chao, 285 F.3d at 426 (citations omitted); Eyler v. Comm ’r oflnrernal Revenue, 88
F.3d 445, 455 (7th Cir. 1996) (citation omitted).

ERlSA’s legislative history confirms that its fiduciary responsibility provisions codify
and make applicable to ERISA fiduciaries certain principles developed in the evolution of the
law of trusts Howell v. Motorola, Inc., 633 F.?>d 552, 566 ('J'th Cir. 2011). Indeed, “ERISA’s
fiduciary duty was meant to hold plan administrators to a duty of loyalty akin to that of a
common-law trustee.” Jenkins, 444 F.3d at 924 (quoting Amerirech Benejit Plan Comm. v.
Comm. Workers ofAm., 220 F.Sd 814, 825 (7th Cir. 2000)). Accordingly, an ER_ISA fiduciary
must act as though he Were a “reasonably prudent businessperson with the interests of all the
beneficiaries at heart.” ld.

As summarized above, Plaintiffs allege that, while managing the Defined Benefit Plans,
the Kraft Committees determined that they could not find a U.S. stock investment manager who
could reliably outperform a passive index through the pursuit of active management (R. 190,
Pls.’ Mem. at 1.) They also note that the Kraft Committees removed all actively-managed U.S.
stock investments from the Defined Benefit Plans, but left actively-managed U.S. stock
investments in the Plan. (Id.) In doing so, Plaintiffs argue, the Kraft Committees “caused
Plaintiffs’ Plans to suffer millions of dollars in losses from the underperformance and high
investment management fees of those actively managed mutual funds relative to readily available
index funds.” (Id.) By allegedly failing to apply the same care, skill, prudence, and diligence

that they applied to the Defined Benefit Plans, Plaintiffs contend that the Kraft Committees

breached their duty of prudence and loyalty to Plan participants {Id.)

 

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Plaintiffs’ arguments in favor of partial summary judgment are unpersuasive Nothing
they have presented in support of their motion establishes that the retention of the Funds in the
Plan after 1999 was imprudent as a matter of law. Given, inter alia, the differences between
defined contribution plans and defined benefit plans, a reasonable jury could find that a
“reasonably prudent businessperson with the interests of all the beneficiaries at heart” could have
acted prudently in retaining the Funds. Because of this conclusion, the Court finds that summary
judgment would be an improper basis to resolve the remaining disputes in this case. Plaintiffs’
motion is therefore denied.

CONCLUSION

For the reasons stated above, Plaintiffs’ cross-motion for partial summary judgment (R. 189)
is DENIED. The parties are directed to reevaluate their settlement positions in light of this opinion
and to exhaust all efforts to settle this case.

A status hearing will be held on August 9, 2011 at 9:45 a.m. to set a firm trial date for this

delayed lawsuit

Entered: l ~M
Judge Rubeii` Castillo
United States ])istrict Court

]]ated: July 19, 2011

 

